Case 2:17-cv-03679-SVW-AGR Document 219-2 Filed 01/31/19 Page 1 of 11 Page ID
                                 #:4662




                  EXHIBIT A




                                                                EXHIBIT A
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Case 2:17-cv-03679-SVW-AGR Document 219-2 Filed 01/31/19 Page 2 of 11 Page ID
                                 #:4663



                                         &(57,),&$7,21
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               ,KDYHUHYLHZHGWKHIDFWVDQGDOOHJDWLRQVRIWKH&RQVROLGDWHG$PHQGHG&RPSODLQW
 ILOHGLQWKLVDFWLRQDQGKDYHDXWKRUL]HGWKHILOLQJRIDPRWLRQIRUDSSRLQWPHQWDV/HDG3ODLQWLII

             ,GLGQRWSXUFKDVHDQGRUDFTXLUHWKHVHFXULW\WKDWLVWKHVXEMHFWRIWKLVDFWLRQDWWKH
 GLUHFWLRQRIP\FRXQVHOQRULQRUGHUWRSDUWLFLSDWHLQDQ\SULYDWHDFWLRQXQGHUWKHIHGHUDOVHFXULWLHV
 ODZV

              , DP ZLOOLQJ WR VHUYH DV D UHSUHVHQWDWLYH SDUW\ RQ EHKDOI RI WKH FODVV LQFOXGLQJ
 JLYLQJWHVWLPRQ\DWGHSRVLWLRQDQGWULDOLIQHFHVVDU\,XQGHUVWDQGWKDWWKLVLVQRWDFODLPIRUP
 DQG WKDW P\ DELOLW\ WR VKDUH LQ DQ\ UHFRYHU\ DV D PHPEHU RI WKH FODVV LV QRW GHSHQGHQW XSRQ
 H[HFXWLRQRIWKLV&HUWLILFDWLRQ

              0\&ODVV3HULRGSXUFKDVHDQGVDOHWUDQVDFWLRQ V LQ6QDS,QFVHFXULWLHVWKDWDUH
 WKHVXEMHFWRIWKLVDFWLRQDUHDWWDFKHGLQ6FKHGXOH$,KDYHFRPSOHWHDXWKRULW\WREULQJDVXLWWR
 UHFRYHUIRULQYHVWPHQWORVVHVIRUDOOVHFXULWLHVVHWIRUWKLQ6FKHGXOH$

             'XULQJWKHWKUHH\HDUVSULRUWRWKHGDWHRIWKLV&HUWLILFDWLRQ,KDYHQRWVRXJKWWR
 VHUYHQRUVHUYHGDVDUHSUHVHQWDWLYHSDUW\IRUDFODVVLQDQDFWLRQILOHGXQGHUWKHIHGHUDOVHFXULWLHV
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              ,ZLOOQRWDFFHSWDQ\SD\PHQWIRUVHUYLQJDVDUHSUHVHQWDWLYHSDUW\RQEHKDOIRIWKH
 FODVV EH\RQG P\ SUR UDWD VKDUH RI DQ\ UHFRYHU\ H[FHSW VXFK UHDVRQDEOH FRVWV DQG H[SHQVHV
  LQFOXGLQJORVWZDJHV GLUHFWO\UHODWLQJWRWKHUHSUHVHQWDWLRQRIWKHFODVVDVRUGHUHGRUDSSURYHGE\
 WKH&RXUW

         ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFW

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Case 2:17-cv-03679-SVW-AGR Document 219-2 Filed 01/31/19 Page 3 of 11 Page ID
                                 #:4664

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              Žŵ^ƚŬ         ƵǇ           ϯͬϮͬϮϬϭϳ    ϯ͕Ϯϲϭ   ΨϮϰ͘ϳϬ
              Žŵ^ƚŬ         ƵǇ           ϯͬϮͬϮϬϭϳ    ϰ͕ϴϬϯ   ΨϮϰ͘ϲϴ
              Žŵ^ƚŬ         ƵǇ           ϯͬϮͬϮϬϭϳ       ϯϬ   ΨϮϰ͘ϲϳ
              Žŵ^ƚŬ         ƵǇ           ϯͬϮͬϮϬϭϳ      ϭϬϬ   ΨϮϰ͘ϲϲ
              Žŵ^ƚŬ         ƵǇ           ϯͬϮͬϮϬϭϳ      ϴϬϬ   ΨϮϰ͘ϲϱ
              Žŵ^ƚŬ         ƵǇ           ϯͬϮͬϮϬϭϳ    ϭ͕ϬϬϲ   ΨϮϰ͘ϲϰ
              Žŵ^ƚŬ         ƵǇ           ϯͬϯͬϮϬϭϳ      ϰϬϳ   ΨϮϵ͘Ϯϱ
              Žŵ^ƚŬ         ƵǇ           ϯͬϯͬϮϬϭϳ    Ϯ͕ϰϬϬ   ΨϮϵ͘Ϯϱ
              Žŵ^ƚŬ         ƵǇ           ϯͬϯͬϮϬϭϳ    ϰ͕ϯϰϲ   ΨϮϵ͘Ϯϰ
              Žŵ^ƚŬ         ƵǇ           ϯͬϯͬϮϬϭϳ    ϭ͕ϯϯϯ   ΨϮϵ͘Ϯϰ
              Žŵ^ƚŬ         ƵǇ           ϯͬϯͬϮϬϭϳ    ϭ͕ϱϭϰ   ΨϮϵ͘Ϯϰ
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                                                                         EXHIBIT A
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Case 2:17-cv-03679-SVW-AGR Document 219-2 Filed 01/31/19 Page 4 of 11 Page ID
                                 #:4665




                                           CERTIFICATION

   I, Rediet Tilahun declare that:

            1.      I have reviewed the facts and allegations of the Consolidated Amended Complaint
   filed in this action and have authorized the filing of a motion for appointment as Lead Plaintiff.

           2.     I did not purchase and/or acquire the security that is the subject of this action at the
   direction of my counsel nor in order to participate in any private action under the federal securities
   laws.

           3.     T am willing to serve as a representative party on behalf of the class, including
   giving testimony at deposition and trial, if necessary. I understand that this is not a claim form,
   and that my ability to share in any recovery as a member of the class is not dependent upon
   execution of this Certification.

          4.       My Class Period purchase and sale transaction(s) in Snap, Inc. securities that are
   the subject of this action are attached in Schedule A. I have complete authority to bring a suit to
   recover for investment losses for all securities set forth in Schedule A.

          5.      During the three years prior to the date of this Certification, I have not sought to
   serve nor served as a representative party for a class in an action filed under the federal securities
   laws.

           6.      I will not accept any payment for serving as a representative party on behalf of the
   class beyond my pro rata share of any recovery, except such reasonable costs and expenses
   (including lost wages) directly relating to the representation of the class as ordered or approved by
   the Court.

          I declare under penalty of perjury that the foregoing is true and correct.

               1/30/2019
   Dated: _ _ _ _ _ _ __
                                                           Rediet Tilahun




                                                                                             EXHIBIT A
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Case 2:17-cv-03679-SVW-AGR Document 219-2 Filed 01/31/19 Page 5 of 11 Page ID
                                 #:4666

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              Žŵ^ƚŬ         ƵǇ          ϯͬϮϯͬϮϬϭϳ   ϭϲ͕ϬϬϬ   ΨϮϮ͘ϲϱ
              Žŵ^ƚŬ         ƵǇ          ϯͬϮϰͬϮϬϭϳ   ϭϲ͕ϬϬϬ   ΨϮϮ͘ϲϵ
              Žŵ^ƚŬ         ƵǇ          ϯͬϮϳͬϮϬϭϳ   ϭϲ͕ϬϬϬ   ΨϮϯ͘ϴϭ
              Žŵ^ƚŬ         ƵǇ          ϯͬϮϳͬϮϬϭϳ   ϭϲ͕ϬϬϬ   ΨϮϯ͘ϵϯ
              Žŵ^ƚŬ         ƵǇ          ϯͬϮϳͬϮϬϭϳ   ϭϲ͕ϬϬϬ   ΨϮϯ͘ϴϯ
              Žŵ^ƚŬ         ƵǇ           ϰͬϳͬϮϬϭϳ    ϳ͕ϬϬϬ   ΨϮϭ͘ϬϬ
              Žŵ^ƚŬ         ^Ğůů         ϯͬϮϯͬϮϬϭϳ   ϭϲ͕ϬϬϬ   ΨϮϯ͘Ϭϭ
              Žŵ^ƚŬ         ^Ğůů         ϯͬϮϳͬϮϬϭϳ   ϭϲ͕ϬϬϬ   ΨϮϯ͘ϯϵ
              Žŵ^ƚŬ         ^Ğůů         ϯͬϮϳͬϮϬϭϳ   ϭϲ͕ϬϬϬ   ΨϮϯ͘ϱϲ
              Žŵ^ƚŬ         ^Ğůů         ϯͬϮϳͬϮϬϭϳ   ϭϲ͕ϬϬϬ   ΨϮϯ͘ϵϴ
              Žŵ^ƚŬ         ^Ğůů         ϯͬϮϴͬϮϬϭϳ    ϴ͕ϬϬϬ   ΨϮϮ͘Ϯϴ
              Žŵ^ƚŬ         ^Ğůů         ϳͬϭϭͬϮϬϭϳ    ϭ͕ϬϬϬ   Ψϭϱ͘ϲϯ




                                                                         EXHIBIT A
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Case 2:17-cv-03679-SVW-AGR Document 219-2 Filed 01/31/19 Page 6 of 11 Page ID
                                 #:4667




                                               CE.RTIFICATT.ON

    I, Tony Ray Nelson, declat'e tl'.11;1.t:

             1.      I have reviewed the facts and a1lega.tions of the Consolidated Amended Complaint
    filed in this action and have au '.horized the filing of: a motion for appointment as Lead Plaintiff.

           2.     I did not purcha iie and/or acquire the secutity that is the subject of this ~ction at the
   dfrection of my counsel nor. in order to participate in any private action under the federal securities
   laws.

           3.     l am willing to serve as a :J:~presentati.ve party on behalf of the class, including
   giving testinwny at deposition and trial, if necessary. I u11dexstand that this is not a claim fon:n,
   and that my ability to share in any .recovery as a member of the class is not depe11dent upo.n
   execution of this Ce11ification.

           4.      My Class Period. purchase and sale transactio:o.(s) in Snap, Inc. secu~jties that are
   the subject of this action are atrached in Schedule A. l have complete authority to bring a suit to
   recover for jnvestm.ent losses fi: 1r all securities set forth i.n Sched1d,e A.

          5.      During the three: years pd.or to the date of this Certification, I have not sought to
   serve nor served as a represcnw tive party for a class in-an action filed under the federal securities
   laws.

            6.      I will not accept any payment for serving as a representative party 011 behalf of the
   c.lass beyond my pt.'◊ rata share of a11y recovery, ex:cept such reasonable costs and exp~nses
   (inclttding lost wages) directly nlating to the tepresentatlo:n of the class as ordered or approved by
   the Comt

           I declare under penalty cf perjury that the foregoing is true and correct.




                                                                                           EXHIBIT A
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Case 2:17-cv-03679-SVW-AGR Document 219-2 Filed 01/31/19 Page 7 of 11 Page ID
                                 #:4668

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              Žŵ^ƚŬ         ƵǇ           ϯͬϮͬϮϬϭϳ    ϴ͕ϭϵϯ   ΨϮϰ͘ϰϵ
              Žŵ^ƚŬ         ƵǇ           ϯͬϯͬϮϬϭϳ    ϭ͕ϰϵϳ   ΨϮϲ͘ϴϱ




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Case 2:17-cv-03679-SVW-AGR Document 219-2 Filed 01/31/19 Page 8 of 11 Page ID
                                 #:4669


                                          CERTIFICATION

 I, Rickey E. Butler, declare that:

          1.      I have reviewed the facts and allegations of the Consolidated Amended Complaint
 filed in this action and have authorized the filing of a motion for appointment as Lead Plaintiff.

         2.     I did not purchase and/or acquire the security that is the subject of this action at the
 direction of my counsel nor in order to participate in any private action under the federal securities
 laws.

         3.     I am willing to serve as a representative party on behalf of the class, including
 giving testimony at deposition and trial, if necessary. I understand that this is not a claim form,
 and that my ability to share in any recovery as a member of the class is not dependent upon
 execution of this Certification.

        4.       My Class Period purchase and sale transaction(s) in Snap, Inc. securities that are
 the subject of this action are attached in Schedule A. I have complete authority to bring a suit to
 recover for investment losses for all securities set forth in Schedule A.

        5.      During the three years prior to the date of this Certification, I have not sought to
 serve nor served as a representative party for a class in an action filed under the federal securities
 laws.

         6.      I will not accept any payment for serving as a representative party on behalf of the
 class beyond my pro rata share of any recovery, except such reasonable costs and expenses
 (including lost wages) directly relating to the representation of the class as ordered or approved by
 the Court.

        I declare under penalty of perjury that the foregoing is true and correct.




                                                                                       EXHIBIT A
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Case 2:17-cv-03679-SVW-AGR Document 219-2 Filed 01/31/19 Page 9 of 11 Page ID
                                 #:4670

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              Žŵ^ƚŬ         ƵǇ           ϯͬϯͬϮϬϭϳ    ϱ͕ϭϵϬ   ΨϮϲ͘Ϯϰ
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                                                                         EXHIBIT A
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Case 2:17-cv-03679-SVW-AGR Document 219-2 Filed 01/31/19 Page 10 of 11 Page ID
                                  #:4671




                                             CERTIFICATION

    I, Alan L. Dukes, declare that:

             1.      I have reviewed the facts and allegations of the Consolidated Amended Complaint
    filed in this action and have authorized the filing of a motion for appointment as Lead Plaintiff.

            2.     I did not purchase and/or acquire the security that is the subject of this action at the
    direction of my counsel nor in order to participate in any private action under the federal securities
    laws.

            3.     I am willing to serve as a representative party on behalf of the class, including
    giving testimony at deposition and trial, if necessary. I understand that this is not a claim form,
    and that my ability to share in any recovery as a member of the class is not dependent upon
    execution of this Certification.

           4.       My Class Period purchase and sale transaction(s) in Snap, Inc. securities that are
    the subject of this action are attached in Schedule A. I have complete authority to bring a suit to
    recover for investment losses for all securities set forth in Schedule A.

           5.      During the three years prior to the date of this Ce11ification, I have not sought to
    serve nor served as a representative party for a class in an action filed under the federal securities
    laws.

            6.      I will not accept any payment for serving as a representative patty on behalf of the
    class beyond my pro rata share of any recovery, except such reasonable costs and expenses
    (including lost wages) directly relating to the representation of the class as ordered or approved by
    the Court.

             I declare under penalty of perjury that the foregoing is true and correct.


                 1/28/2019
    Dated:
             ---------
                                                           Alan L. Dukes




                                                                                            EXHIBIT A
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Case 2:17-cv-03679-SVW-AGR Document 219-2 Filed 01/31/19 Page 11 of 11 Page ID
                                  #:4672

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              Žŵ^ƚŬ         ƵǇ           ϯͬϯͬϮϬϭϳ    ϱ͕ϬϬϬ   ΨϮϳ͘ϵϬ
              Žŵ^ƚŬ         ƵǇ           ϯͬϯͬϮϬϭϳ    ϯ͕ϬϬϬ   ΨϮϲ͘ϵϬ
              Žŵ^ƚŬ         ^Ğůů          ϯͬϯͬϮϬϭϳ    ϯ͕ϬϬϬ   ΨϮϳ͘ϵϵ
              Žŵ^ƚŬ         ^Ğůů          ϯͬϳͬϮϬϭϳ    ϭ͕ϬϬϬ   ΨϮϮ͘ϬϬ
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